
368 Pa. 629 (1951)
Commonwealth ex rel. Baxter, Appellant,
v.
Ashe.
Supreme Court of Pennsylvania.
Argued September 26, 1951.
November 13, 1951.
Before DREW, C.J., STERN, STEARNE, JONES, BELL, LADNER and CHIDSEY, JJ.
*630 G. Harold Blaxter, for appellant.
Henry R. Smith, Jr., Assistant District Attorney, with him William S. Rahauser, District Attorney, and Gilbert J. Helwig, for appellee.
OPINION PER CURIAM, November 13, 1951:
The order is affirmed on the opinion of the learned court below.
